             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL

            William Couser, et al.             Story County, Iowa, et al.
Case Title: _______________________________ vs._________________________________

                                                            23-3760
The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)

Michigan, Minnesota, Oregon, and Vermont




   Appellant(s)     Petitioner(s)     Appellee(s)      Respondent(s) ✔ Amicus Curiae            Intervenor(s)



Please compare your information below with your information on PACER. Any updates
or changes must be made through PACER’s Manage my Account.
               Ryan V. Petty                Ryan V. Petty
Attorney Name: ________________________ s/: ____________________________________
           Office of the Minnesota Attorney General
Firm Name: ___________________________________________________________________
                  445 Minnesota Street, Suite 600
Business Address: ______________________________________________________________
                Saint Paul, MN 55101
City/State/Zip: _________________________________________________________________
                             (651) 300-7828
Telephone Number (Area Code):___________________________________________________
               ryan.petty@ag.state.mn.us
Email Address: ________________________________________________________________




                                          CERTIFICATE OF SERVICE
                              7/15/2025
 ✔ hereby certify that on ____________, I electronically filed the foregoing with the Clerk of the Court for the
_____I
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
within 3 calendar days, to the following non-CM/ECF participants:




    Appellate Case: 23-3760              Page: 1         Date Filed: 07/15/2025 Entry ID: 5537291
